                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

REPRESENTATIVE JUSTIN JONES, in his                     )
personal capacity,                                      )
                                                        )
         Plaintiff,                                     )
                                                        )
         v.                                             )
                                                        )
REPRESENTATIVE CAMERON SEXTON, in his )
individual capacity and in his official capacity as the )
Speaker of the Tennessee House of Representatives; )          Case No. 3:23-cv-01033
TAMMY LETZLER, in her individual capacity and )               Hon. Eli Richardson
in her official capacity as the Chief Clerk for the     )     Hon. Alistair E. Newbern
Tennessee House of Representatives; BOBBY               )
TROTTER, in his individual capacity and in his          )
official capacity as the Chief Sergeant-at-Arms for the )
Tennessee House of Representatives; and DANIEL )
HICKS, in his individual capacity and in his official )
capacity as the Assistant Chief Clerk and               )
Parliamentarian for the Tennessee House of              )
Representatives ,                                       )
                                                        )
         Defendants.                                    )
_________________________________________ )

               ORDER GRANTING UNOPPOSED MOTION TO EXTEND
                       DEFENDANTS’ REPLY DEADLINE

        The Court, having considered Defendants’ unopposed motion to extend Defendants’ reply

deadline, hereby ORDERS that the motion is GRANTED. Defendants’ deadline to file a reply in

support of their motion to dismiss Plaintiff’s supplemental and amended complaint is January 13,

2025.

        SO ORDERED



         3 2025
January ___,
                                                 The Honorable Eli Richardson
                                                 United States District Judge




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